                     Case 5:21-mc-51535-JEL ECF No. 5, PageID.39 Filed 08/04/22 Page 1 of 3

                                                                                   AUSA: Michael El-Zein                Telephone: (313) 550-2922
AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture   Special Agent:     David Green                    Telephone: (313) 717-5560


                                            UNITED STATES DISTRICT COURT
                                                                              for th~
                                                                  Eastern District of Michigan

                  In the Matter of the Seizure of                                )
            (Briefly describe the property to be seized)                         )
     All Funds on Deposit in People Driven Credit Union                          )      Case No. 5:21-mc-51535 Amended
     Account Number 823410 as further described on                               )
     Attachment A                                                                )

                                WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE

To: Any authorized law enforcement officer

      An application by a federal law enforcement officer or an attorney for the government requests that certain property
located in the                 Eastern                District of                  Michigan                    be seized as being
subject to forfeiture to the United States of America. The property is described as follows:
All Funds on Deposit in People Driven Credit Union Account Number 823410 as further described on Attachment A




    I find that the affidavit(s) and any recorded testimony establish probable cause to seize the property.

    YOU ARE COMMANDED to execute this warrant and seize the property on or before _J_an_uary~~l2~,_2_0_2_2_ _ _ _ _ __
                                                                                                                          (not to exceed 14 days)
    li]in the daytime 6:00 a.m. to 10:00 p.m.                 D at any time in the day or night because good cause has been established.
   Unless delayed notice is authorized below, you must also give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

    An officer present during the execution of the warrant must prepare, as required by law, an inventory of any property seized
and the officer executing the warrant must promptly return this warrant and a copy of the inventory to
the presiding United States Magistrate Judge on duty
                       (United States Magistrate Judge)


    D  Pursuant to 18 U.S.C. § 3103a(b ), I find that immediate notification may have an adverse result listed in 18 U .S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
    D   for         days (not to exceed 30)                   D
                                                        until, the facts justifying, the later specific date of _ _ _ _ _ _ _ __




Date and time issued:
                                     December 29, 2021            5:26 pm
                                                                                                   ~-l\Alk Judge 's signature


City and state:         Detroit, MI                                             Kimberly Altman                      U. S. Magistrate Judge
                                                                                                       Printed name and title
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AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture (Page 2)

                                                                                    Return
Case No.:                                                                                      Copy of warrant and inventory left with:
5:21-mc-51535 Amended
                                                                                                   5   !1ilA H         V (,} .f<(/IJ'f_
Inventory made in the presence of:
                                             /J{>r
Inventory of the property taken:

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           CH       fi:.£ "-




                                                                               Certification


   I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.


Date:
                                                                     /
                                                                                               r
                                                                                                       Ex          officer's signature

                                                                                      ~                            e/l/dv)
                                                                                                            Printed name and title
        Case 5:21-mc-51535-JEL ECF No. 5, PageID.41 Filed 08/04/22 Page 3 of 3




                                   ATTACHMENT A

                                    Seizure Warrant

Up to $350,706.41 funds on deposit in People Driven Credit Union Account No. 823410
held in the name of Jordan Crawford and/or Sylvia Crawford with permission to serve the
warrant electronically followed by original service.


The financial institution upon which this seizure warrant has been served is instructed to
provide federal agents authorized to seize the funds with the current balance in each
account upon service of the seizure warrant and at therequest of the federal agents
authorized to seize the funds.
